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» 7242\ California Medical Association

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August 7, 2006 EF] L E D

AUG - 8 2006
CLERK, U.S. DISTRICT COURT
The ILonorable Lawrence K. Karlton EASTERN DISTRICT OF CALIFORNIA
Court Room 4 * BEAUTY ERR

US. District Court for the Eastern District of Califomia
501 I Street, 8th floor
Sacramento, CA 95814

Re: Removal of CMA's Name from the Official Service List in Coleman v. Schwarzenegger
No. CIV 8-90-0520 LEK JFM P

Dear Judge Karlton:

Please remove the California Medical Association’s name from the official service list in this
case. We are “ccing” three cntities which we are aware on the service list for their information.
If there are others, we would appreciate the Court informing them, or in the alternative, notifying
us of those entities so we may notify them. CMA has had no involvement with this case for a
very long time now.

Thank you very much for your attention to this request.
Sincerely,

Catheriedd Prams faty

Catherine 1. Hanson
Vice President & General Counsel

co: Lisa Tillman, Deputy Attorney General
Pete Cockroft, California State Prison, Sacramento
Stephen W. Mayberg, California Department of Mental Health

CTH/ebt

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